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                             Exhibit 2

            Strike 3’s Objections to RPD Set One
             Case 2:17-cv-01731-TSZ Document 51-2 Filed 08/09/18 Page 2 of 16



 1                                                                       The Honorable Thomas S. Zilly
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 8                                UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10     STRIKE 3 HOLDINGS, LLC, a Delaware                Case No. 2:17-cv-01731-TSZ
       corporation,
11                                                       PLAINTIFF’S OBJECTIONS AND
                                           Plaintiff,    RESPONSES TO DEFENDANT’S FIRST
12                                                       REQUESTS FOR PRODUCTION
                  v.
13

14     JOHN DOE, subscriber assigned IP
       address 73.225.38.130,
15
                                         Defendant.
16

17
             Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff Strike Three
18
     Holdings, LLC (“Plaintiff”) hereby responds and objects to Defendant John Doe’s, subscriber
19
     assigned IP address 73.225.38.130 (“Defendant”), First Requests for Production (“Requests”).
20
                                        PRELIMINARY STATEMENT
21
             1.         By responding to these Requests, Plaintiff neither waives nor intends to waive,
22
     and in fact expressly reserves all objections to these Requests, including: (1) all objections as to
23
     competency, relevancy, materiality and admissibility; (2) all objections as to vagueness,
24
     ambiguity and undue burden; (3) all rights to object on any ground to the use of any of these
25
     answers, documents that may be produced, or the subject matter thereof in any subsequent
26

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 1 proceeding or at trial of this case; and (4) all rights to object on any ground to any request for

 2 further answers to these or any other discovery requests.

 3           2.     Plaintiff’s investigation of the facts and law relating to this case is continuing and
 4 has not been completed. Nor has discovery or preparation for trial been completed. Therefore,

 5 this response is being provided without prejudice to Plaintiff’s right to add, modify or otherwise

 6 change or amend these responses and is subject to Plaintiff’s right to produce evidence of any

 7 subsequently-discovered fact or document.

 8           3.     Plaintiff’s response to each Request is submitted without prejudice to, and without
 9 in any way waiver of the General Objections listed below, whether or not each such General

10 Objection is expressly set forth in response to a particular Request. The assertion of any

11 objection or any other response below is neither intended as, nor shall in any way be deemed, a

12 waiver of Plaintiff’s right to assert any other objections at a later date.

13           4.     Plaintiff’s responses to these Requests are subject to and without waiving, but on
14 the contrary reserving, Plaintiff’s right to object to other discovery procedures relating to the

15 subject matter of the Requests. Further, information and documents that Plaintiff may produce

16 will be produced subject to Plaintiff’s right to object to the introduction of such information or

17 document at any hearing or at the trial of this matter. The fact that Plaintiff may produce

18 responsive documents that can be located after a reasonable search should not be taken as an
19 admission that any such documents exist. The fact that Plaintiff has responded to part or all of

20 any Request is not intended to be, and shall not be construed to be, a waiver by Plaintiff of any

21 objection to any Request.

22                                      GENERAL OBJECTIONS
23           1.     Plaintiff expressly incorporates the following General Objections and the above
24 Preliminary Statement into Plaintiff’s responses to each Request. They are set forth here to

25 avoid the unnecessary repetition of restating them for each individual answer. Failure to
26

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 1 specifically incorporate a General Objection shall not be construed as a waiver of it with respect

 2 to any specific Request.

 3           2.     Plaintiff objects to each Request to the extent that it calls for the production of
 4 information or documents by Plaintiff which are not in Plaintiff’s custody, possession or control

 5 or attempts to impose a duty on Plaintiff to obtain information from third parties. Specifically,

 6 Plaintiff objects to Defendant’s definitions of “Strike 3 Holdings, LLC,” “You,” and “Your”

 7 insofar as they purport to require Plaintiff to produce information in the hands of third parties.

 8 Plaintiff answers these Requests only on its own behalf and not on behalf of any other party.
 9           3.     Plaintiff objects to Plaintiff’s Definitions and Instructions to the extent they are
10 inconsistent with, or purport to impose any burden or obligation on Plaintiff in excess of, the

11 requirements of the Federal Rules of Civil Procedure, such as Rules 26, 33 and 34, and the Local

12 Rules of the Court and the Court’s orders. Plaintiff will rely upon the Federal Rules of Civil

13 Procedure, the Local Civil Rules, the Court’s orders and governing case law with respect to the

14 appropriate scope of its responses.

15           4.     Plaintiff objects to each Request to the extent they purport to require disclosure of
16 Plaintiff’s confidential and/or proprietary business information and trade secrets without

17 sufficient safeguards or protections to maintain the confidential and/or proprietary nature of the

18 information. Likewise, Plaintiff will not produce the confidential, proprietary or trade secret
19 information of third parties with whom Plaintiff transacts business. Similarly, Plaintiff will not

20 produce confidential personal information in violation of the privacy rights of its officers,

21 employees or any third parties.

22           5.     Plaintiff objects to each Request to the extent that it seeks information that is
23 protected by the attorney-client privilege, the work product privilege or other privileges, or

24 which constitute material prepared in anticipation of litigation and/or which are exempt from

25 disclosure pursuant to Fed. R. Civ. P. 26, upon the grounds that privileged matter is exempt from
26 discovery and trial preparation material may only be discoverable upon satisfaction of the

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 1 prerequisites delineated in Fed. R. Civ. P. 26(b)(3) and (b)(4), which prerequisites have not been

 2 satisfied.

 3           6.     Plaintiff objects to the use throughout the Requests of words and phrases that are
 4 vague, ambiguous, not sufficiently definite, or susceptible to varying interpretations. Plaintiff’s

 5 responses to these Requests are based upon its understanding of such words and phrases.

 6           7.     The inadvertent or mistaken provision of information subject to the protections of
 7 the attorney-client privilege, work product doctrine, or other privilege shall not constitute a

 8 general, inadvertent, implicit, subject matter, separate, independent or other waiver of such

 9 privilege or protection, and does not put in issue or constitute the affirmative use of the advice of

10 counsel or of any privileged communications. All such inadvertently provided information shall

11 be returned to Plaintiff’s counsel, along with any copies made thereof.

12                                    DOCUMENTS REQUESTED
13           REQUEST FOR PRODUCTION NO. 1: A copy of the object code of the
14 Infringement Detection Software used on the Dates Of Alleged Infringements.

15           RESPONSE:
16           In addition to its general objections, which are incorporated herein by reference, Plaintiff
17 objects to this request as premature. This case is in its infancy. Defendant did not answer

18 Plaintiff’s Complaint, nor has Defendant answered or otherwise responded to Plaintiff’s

19 forthcoming First Amended Complaint. Instead, Defendant moved for a more definite statement

20 and asserted counterclaims. See Dkt. # 21 & 22. Plaintiff filed a motion to dismiss those

21 counterclaims and parties are currently awaiting the Court’s decision on that motion. See Dkt. #

22 35. In the meantime, the Court granted Defendant’s motion for a more definite statement and

23 ordered Plaintiff to file an amended complaint. See Dkt. # 36. In other words, the precise causes

24 of action, issues (legal and factual), admissions, denials, and affirmative defenses have not even

25 been framed or alleged. This case is still in the pleading stage, not the discovery phase.
26 Defendant’s responsive pleading or motion to Plaintiff’s First Amended Complaint is due July

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 1 17, 2018. See Dkt. # 36. Accordingly, the Court struck the previously scheduled status

 2 conference and ordered the parties to conduct a Fed.R.Civ.P. 26(f) conference and file a Joint

 3 Status Report on or before July 21. Id. Fed.R.Civ.P 26(d)(1) expressly states that “[a] party may

 4 not seek discovery from any source before the parties have conferred as required by Rule 26(f).”

 5           For that reason, the other reasons stated above, and the procedural and nascent posture of
 6 this case, this request is premature. It is a waste of resources to substantively respond to

 7 discovery at this point, especially since Defendant’s identity remains unknown and the

 8 heightened potential for misuse of produced information since the precise causes of action, issues
 9 (legal and factual), admissions, denials, and affirmative defenses have not even been framed or

10 alleged. Plaintiff further objects to this request for production as seeking confidential,

11 proprietary, and/or trade secret information, which Plaintiff will not produce unless and until

12 after entry of an appropriate and mutually agreeable protective order.

13           Subject to and without waiving its general and specific objections, Plaintiff will
14 supplement its response to this request for production at an appropriate, later date.

15

16           REQUEST FOR PRODUCTION NO. 2: A copy of the source code of the
17 Infringement Detection Software that was used on the Dates Of Alleged Infringements.

18           RESPONSE:
19           See response to Request for Production No. 1, which response is incorporated here by
20 reference.

21

22           REQUEST FOR PRODUCTION NO. 3: A copy of all third-party software licenses
23 that were used for Infringement Detection Software on the Dates Of Alleged Infringements.

24           RESPONSE:
25           See response to Request for Production No. 1, which response is incorporated here by
26 reference.

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 1           REQUEST FOR PRODUCTION NO. 4: A copy of all build files of the Infringement
 2 Detection Software that was used on the Dates Of Alleged Infringements

 3           RESPONSE:
 4           See response to Request for Production No. 1, which response is incorporated here by
 5 reference.

 6

 7           REQUEST FOR PRODUCTION NO. 5: A copy of all validation test files for the
 8 Infringement Detection Software that was used on the Dates Of Alleged Infringements.
 9           RESPONSE:
10           See response to Request for Production No. 1, which response is incorporated here by
11 reference.

12

13           REQUEST FOR PRODUCTION NO. 6: A copy of all documentation for
14 Infringement Detection on the Dates Of Alleged Infringements.

15           RESPONSE:
16           See response to Request for Production No. 1, which response is incorporated here by
17 reference.

18
19           REQUEST FOR PRODUCTION NO. 7: A copy of all expert reports regarding the
20 testing, validation, and/or inspection of the Infringement Detection Software on the Dates Of

21 Alleged Infringements.

22           RESPONSE:
23           See response to Request for Production No. 1, which response is incorporated here by
24 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 8: A copy of all expert reports regarding the
 2 testing, validation, and/or monitoring of Infringement Detection.

 3           RESPONSE:
 4           See response to Request for Production No. 1, which response is incorporated here by
 5 reference.

 6

 7           REQUEST FOR PRODUCTION NO. 9: A copy of any and all Documents that
 8 reference IP Addresses used to monitor the BitTorrent Swarm for Infringement Detection on the
 9 Dates Of Alleged Infringements.

10           RESPONSE:
11           See response to Request for Production No. 1, which response is incorporated here by
12 reference.

13

14           REQUEST FOR PRODUCTION NO. 10: A copy of all PCAPs from the BitTorrent
15 Swarms that were collected for Infringement Detection on the Dates of the Alleged

16 Infringements.

17           RESPONSE:
18           See response to Request for Production No. 1, which response is incorporated here by
19 reference.

20

21           REQUEST FOR PRODUCTION NO. 11: A copy of all Torrent Files accessed by the
22 Infringement Detection Software corresponding to the Works.

23           RESPONSE:
24           See response to Request for Production No. 1, which response is incorporated here by
25 reference.
26

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 1           REQUEST FOR PRODUCTION NO. 12: A copy of all DMCA notices sent to IP
 2 address 73.225.38.130.

 3           RESPONSE:
 4           See response to Request for Production No. 1, which response is incorporated here by
 5 reference.

 6

 7           REQUEST FOR PRODUCTION NO. 13: A copy of all DMCA notices sent to any
 8 internet service provider, in relation to IP address 73.225.38.130.
 9           RESPONSE:
10           See response to Request for Production No. 1, which response is incorporated here by
11 reference.

12

13           REQUEST FOR PRODUCTION NO. 14: A copy of all copyright certificates related
14 to the Works.

15           RESPONSE:
16           See response to Request for Production No. 1, which response is incorporated here by
17 reference.

18
19           REQUEST FOR PRODUCTION NO. 15: A copy of all copyright depository copies
20 related to the Works.

21           RESPONSE:
22           See response to Request for Production No. 1, which response is incorporated here by
23 reference.

24

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 16: All Documents, for the last three years,
 2 supporting your allegation in paragraph 3 of the Complaint that SH3 has “...more than 20 million

 3 unique visitors to its websites each month...”

 4           RESPONSE:
 5           In addition to its general objections, which are incorporated herein by reference, Plaintiff
 6 objects to this request as premature. This case is in its infancy. Defendant did not answer

 7 Plaintiff’s Complaint, nor has Defendant answered or otherwise responded to Plaintiff’s

 8 forthcoming First Amended Complaint. Instead, Defendant moved for a more definite statement
 9 and asserted counterclaims. See Dkt. # 21 & 22. Plaintiff filed a motion to dismiss those

10 counterclaims and parties are currently awaiting the Court’s decision on that motion. See Dkt. #

11 35. In the meantime, the Court granted Defendant’s motion for a more definite statement and

12 ordered Plaintiff to file an amended complaint. See Dkt. # 36. In other words, the precise causes

13 of action, issues (legal and factual), admissions, denials, and affirmative defenses have not even

14 been framed or alleged. This case is still in the pleading stage, not the discovery phase.

15 Defendant’s responsive pleading or motion to Plaintiff’s First Amended Complaint is due July

16 17, 2018. See Dkt. # 36. Accordingly, the Court struck the previously scheduled status

17 conference and ordered the parties to conduct a Fed.R.Civ.P. 26(f) conference and file a Joint

18 Status Report on or before July 21. Id. Fed.R.Civ.P 26(d)(1) expressly states that “[a] party may
19 not seek discovery from any source before the parties have conferred as required by Rule 26(f).”

20           For that reason, the other reasons stated above, and the procedural and nascent posture of
21 this case, this request is premature. It is a waste of resources to substantively respond to

22 discovery at this point, especially since Defendant’s identity remains unknown and the

23 heightened potential for misuse of produced information since the precise causes of action, issues

24 (legal and factual), admissions, denials, and affirmative defenses have not even been framed or

25 alleged. Plaintiff further objects to this request for production as seeking confidential,
26 proprietary, and/or trade secret information, which Plaintiff will not produce unless and until

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 1 after entry of an appropriate and mutually agreeable protective order.

 2           Plaintiff further objects to this request for production as citing an allegation in a
 3 Complaint that is no longer the operative complaint in this action, and therefore seeks

 4 information that is not relevant or reasonably calculated to lead to the discovery of admissible

 5 evidence. See Dkt. # 36.

 6           Subject to and without waiving its general and specific objections, Plaintiff will
 7 supplement its response to this request for production at an appropriate, later date.

 8
 9           REQUEST FOR PRODUCTION NO. 17: All Documents supporting your allegations
10 in paragraph 4 of the Complaint that Defendant “...has been recorded infringing 80 movies over

11 an extended period of time”.

12           RESPONSE:
13           See response to Request for Production No. 16, which response is incorporated here by
14 reference.

15

16           REQUEST FOR PRODUCTION NO. 18: All Documents supporting your allegations
17 in paragraph 9 of the Complaint that “...Plaintiff used IP address geolocation technology by

18 Maxmind Inc. (“Maxmind”)”.
19           RESPONSE:
20           See response to Request for Production No. 16, which response is incorporated here by
21 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                          FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 19: All Documents supporting your allegations
 2 in paragraph 13 of the Complaint that “Strike 3's subscription based websites proudly boast a

 3 paid subscriber base that is one of the highest of any adult-content sites in the world.”

 4           RESPONSE:
 5           See response to Request for Production No. 16, which response is incorporated here by
 6 reference.

 7

 8           REQUEST FOR PRODUCTION NO. 20: All Documents supporting your allegations
 9 in paragraph 13 of the Complaint that "Strike 3 also licenses its motion pictures to popular

10 broadcasters".

11           RESPONSE:
12           See response to Request for Production No. 16, which response is incorporated here by
13 reference.

14

15           REQUEST FOR PRODUCTION NO. 21: All Documents supporting your allegations
16 in paragraph 13 of the Complaint that “Strike 3's motion pictures are the number one selling

17 adult DVDs in the United States”.

18           RESPONSE:
19           See response to Request for Production No. 16, which response is incorporated here by
20 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                      FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 22: All Documents supporting your allegations
 2 in paragraph 16 of the Complaint that “Often appearing among the most infringed popular

 3 entertainment content on torrent websites, Strike 3's motion pictures are among the most pirated

 4 content in the world.”

 5           RESPONSE:
 6           See response to Request for Production No. 16, which response is incorporated here by
 7 reference.

 8
 9           REQUEST FOR PRODUCTION NO. 23: All Documents supporting your allegations
10 that Defendant distributed S3H's Works, as alleged in paragraph 23 of the Complaint.

11           RESPONSE:
12           See response to Request for Production No. 16, which response is incorporated here by
13 reference.

14

15           REQUEST FOR PRODUCTION NO. 24: All Documents supporting your allegations
16 in paragraph 26 of the Complaint that “A full copy of each digital media file was downloaded

17 from the BitTorrent file distribution network, and it was confirmed through independent

18 calculation that the file hash correlating to each file matched the file hash downloaded by
19 Defendant.”

20           RESPONSE:
21           See response to Request for Production No. 16, which response is incorporated here by
22 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                     FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 25: All Documents supporting your allegations
 2 in paragraph 27 of the Complaint that “Defendant downloaded, copied, and distributed a

 3 complete copy of Plaintiff's Works”.

 4           RESPONSE:
 5           See response to Request for Production No. 16, which response is incorporated here by
 6 reference.

 7

 8           REQUEST FOR PRODUCTION NO. 26: All Documents supporting your allegations
 9 in paragraph 29 of the Complaint that “The digital media files have been verified to contain a

10 digital copy of a motion picture that is identical (or alternatively, strikingly similar or

11 substantially similar) to Plaintiff's corresponding original copyrighted Works”.

12           RESPONSE:
13           See response to Request for Production No. 16, which response is incorporated here by
14 reference.

15

16           REQUEST FOR PRODUCTION NO. 27: All Documents supporting your allegations
17 in paragraph 30 of the Complaint that “Absent this lawsuit, Plaintiff knows of no way to

18 effectively prevent Defendant from infringing Plaintiff’s motion pictures.”
19           RESPONSE:
20           See response to Request for Production No. 16, which response is incorporated here by
21 reference.

22           //
23           //
24           //
25           //
26           //

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                         FOX ROTHSCHILD LLP
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 1           DATED this 3rd day of July, 2018.
 2
                                                 FOX ROTHSCHILD LLP
 3

 4                                                 s/ Bryan J. Case
                                                 Bryan J. Case, WSBA #41781
 5                                               Lincoln D. Bandlow, admitted Pro Hac Vice
                                                 (CSBA #170449)
 6
                                                 Attorneys for Plaintiff
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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
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 1                                   CERTIFICATE OF SERVICE
 2
             I hereby certify that on July 3, 2018, I served the foregoing document on the following
 3
     individuals via the method described below:
 4

 5            J. Curtis Edmondson, WSBA #43795                       Via CM/ECF
              399 NE John Olsen Avenue                               Via U.S. Mail
 6            Hillsboro, Oregon 97124                                Via Messenger Delivery
              Telephone: (503) 336-3749                              Via Email (per agreement)
 7
              Email: jcedmondson@edmolaw.com                         Via Facsimile
 8                    kirenr@edmolaw.com

 9

10
             DATED this 3rd day of July, 2018.
11

12                                                 /s/ Christine F. Zea
                                                   Christine F. Zea
13                                                 Floating Legal Administrative Assistant
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